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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-50V
                                        UNPUBLISHED


    SUSAN MARTIN,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: September 21, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Pneumococcal
                                                            Conjugate Vaccine; Shoulder Injury
                       Respondent.                          Related to Vaccine Administration
                                                            (SIRVA)


Theodore J. Hong, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

      On January 9, 2019, Susan Martin filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a Prevnar 13 pneumococcal conjugate vaccine
administered on April 3, 2017. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

      On September 10, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent concludes that “Petitioner suffered SIRVA as

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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defined by the Vaccine Injury Table.” Id. at 5. Respondent further agrees that “Petitioner
suffered the residual effects of her condition for more than six months.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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